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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


UNITED STATES ex rel. GERALDINE
PETROWSKI,

       Plaintiff,

v.                                                    CASE NO: 8:15-CV-1408-T-30JSS

EPIC SYSTEMS CORPORATION,

      Defendant.
____________________________________/

                                         ORDER

       THIS CAUSE comes before the Court upon Defendant’s Motion to Dismiss (Dkt. 46)

and Relator’s Memorandum of Law in Opposition (Dkt. 52). The Court, upon review of the

motion, response, and being otherwise advised in the premises, concludes that the motion

should be granted. As discussed more thoroughly below, the Court concludes that Relator

Geraldine Petrowski has failed to meet the heightened pleading requirement for claims

alleging fraud and that this conclusion alone warrants dismissal of her claims alleging False

Claim Act violations. Accordingly, the second amended complaint will be dismissed with

prejudice.

                              FACTUAL BACKGROUND

       The following facts are taken from the second amended complaint (Dkt. 23). Relator

Geraldine Petrowski was employed by WakeMed Health, a healthcare provider, from

September 2008, to June 2014. Defendant Epic Systems Corporation offers health care
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software that supports healthcare providers in their provision of patient care. Epic also offers

billing systems that allow health care providers to generate bills that can be sent to private

insurers and/or government health care program payors, including Medicare and Medicaid.

       During the relevant time, Petrowski worked for WakeMed Health as the Supervisor

of Physician’s Coding. WakeMed Health utilized Epic’s billing software. Petrowski served

as the hospital liaison regarding Epic’s implementation of its software at WakeMed Health.

Petrowski alleges that Epic’s software incorrectly bills anesthesia charges. Petrowski does

not allege specific dates as to when Epic’s software was implemented at WakeMed Health.

She alleges that she trained at Epic’s Wisconsin location for a week. She was trained on

Epic’s “Resolute Billing Charge Capture system.” (Dkt. 23 at ¶11). After the training, she

became certified as a “Charge Capture Analyst for Epic’s 2012 and 2014 systems in order

to more readily assist Epic’s implementation of its software with . . . WakeMed Health.” Id.

As part of this effort, Petrowski was involved in deciding which CPT codes to load,

“ensuring that pricing was correct, and verifying that documentation was completed and it

triggered the correct code which mapped to the same code on the claim form.” Id.1

       Petrowski alleges that she “worked vigorously to ensure that Epic’s software code

regarding anesthesia billing and coding complied with Medicare and Medicaid guidelines.”

During “this process” she developed concerns regarding incorrect billing practices that were

caused by Epic’s billing software. Id. at ¶12. She avers that, effective January 1, 2012,



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           These allegations do not contain any specific dates as to when these events occurred.

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Medicare changed its billing and reimbursement practices regarding anesthesia services. The

“units to be billed” required actual minutes, instead of the prior practice of 1 unit equaling

15 minutes. The new regulations provided that only the physician’s actual time on the

procedure should be submitted/billed on the claim form. Petrowski alleges that Epic’s

software, however, allowed hospitals to set up their anesthesia billing modules to include the

sum of the actual time, plus the base unit time. This resulted in the provider being

reimbursed twice for the base unit component. Id. at ¶13.

       According to the second amended complaint, “[Petrowski] went so far as providing

examples to [Epic] representatives illustrating this unlawful practice.” Epic told her that “all

other hospitals are billing base units.” Petrowski “finally succeeded in forcing [Epic] to take

out the base units submission from the hospital’s anesthesia billing module, but once again

was told that they have ‘built all other systems with this feature included.’” Id. at ¶15.

Petrowski “believes” that Epic’s software continues to double bill for anesthesia services.

She alleges that it is “probable” that most of Epic’s software customers are using Epic’s

billing software “as written to double bill anesthesia.” Id. at ¶¶16-17. Petrowski does not

allege when any of these events took place.           She also does not identify the Epic

“representatives” she spoke to about the alleged unlawful billing practice.

       The second amended complaint states that “The Epic Handbook on Billing Anesthesia

indicates that Epic continues to improperly include base units in its billing protocol thereby

resulting in overbilling of payors including Medicare and Medicaid.” Id. at ¶20. And that

this “unlawful billing protocol has resulted in the presentation of hundreds of millions of

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dollars in fraudulent bills for anesthesia services being submitted to Medicare and Medicaid

as false claims.” Id. at ¶21.

       The second amended complaint alleges three claims under the False Claims Act

(“FCA”). Each claim incorporates the prior claim’s allegations. Also, though pled as distinct

claims under the FCA, each claim alleges the same six paragraphs of legal conclusions. For

example, each claim, after incorporating by reference the allegations in each of the preceding

paragraphs, states: “As set forth above, Defendant knowingly, or acting with deliberate

ignorance and/or reckless disregard of the truth, made false representations about the

software it provided which led to fraudulent double billing of anesthesia.” Id. at ¶¶¶ 2, 8, 14.

       Epic moves to dismiss the second amended complaint in its entirety.2 Epic argues, in

relevant part, that the claims fail to plead fraud with particularity under Federal Rule of Civil

Procedure 9(b), as required for FCA claims. The Court agrees.

                                   STANDARD OF REVIEW

       Federal Rule of Civil Procedure 12(b)(6) allows a complaint to be dismissed for

failure to state a claim upon which relief can be granted. When reviewing a motion to

dismiss, a court must accept all factual allegations contained in the complaint as true, and

view the facts in a light most favorable to the plaintiff. See Erickson v. Pardus, 551 U.S. 89,

93-94 (2007).       However, unlike factual allegations, conclusions in a pleading “are not

entitled to the assumption of truth.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1950 (2009). On the



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           The United States declined to intervene in this action.

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contrary, legal conclusions “must be supported by factual allegations.” Id. Indeed,

“conclusory allegations, unwarranted factual deductions or legal conclusions masquerading

as facts will not prevent dismissal.” Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185

(11th Cir. 2003).

                                       DISCUSSION

I.     The FCA

       The FCA permits private individuals to file a civil action on behalf of the United

States—it is referred to as a qui tam action—against anyone (1) who knowingly presents, or

causes to be presented, a false or fraudulent claim for payment to the United States

government; (2) who knowingly makes, uses, or causes to be made or used, a false record or

statement material to a false claim; or (3) who knowingly makes, uses, or causes to be made

or used, a false record or statement material to an obligation to pay or transmit money or

property to the Government. 31 U.S.C. § 3729(a)(1)(A)-(B), (G).

       The FCA was first enacted in 1863, and its purpose, “then and now, is to encourage

private individuals who are aware of fraud being perpetrated against the government to bring

such information forward.” United States ex rel. Clausen v. Laboratory Corp. of America,

Inc., 290 F.3d 1301, 1307 (11th Cir. 2002) (citing Ragsdale v. Rubbermaid, Inc., 193 F.3d

1235, 1237 n.1 (11th Cir. 1999)). To this end, the FCA provides that the government may

elect to take over the lawsuit and that the private plaintiffs who initially filed it, known as

relators, will share in the government’s recovery should there be any. 31 U.S.C. §

3730(d)(1). If the government elects not to intervene, as has happened here, a relator may

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continue to pursue the claim individually and recover a percentage of the proceeds from any

judgment or settlement. 31 U.S.C. § 3731(d)(2).

       Notably, “[l]iability under the False Claims Act arises from the submission of a

fraudulent claim to the government, not the disregard of government regulations or failure

to maintain proper internal policies.” Corsello v. Lincare, Inc., 428 F.3d 1008, 1012 (11th

Cir. 2005) (per curiam). In the healthcare context, a False Claims Act violation typically

involves billing for services not provided or not medically necessary. U.S. ex rel. Sanchez

v. Lymphatx, Inc., 596 F.3d 1300, 1302 (11th Cir. 2010) (per curiam).

II.    Rule 8(a)(2) and Rule 9(b)

       At the pleading stage, a complaint alleging violations of the FCA must satisfy two

requirements. First, the complaint must include “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Second, the complaint

must satisfy Rule 9(b)’s heightened pleading requirement for claims alleging fraud. That is,

it must “state with particularity the circumstances constituting fraud or mistake.” Fed. R.

Civ. P. 9(b).

       In the Eleventh Circuit, the complaint must particularize the fraud in several important

respects:

                Rule 9(b) is satisfied if the complaint sets forth (1) precisely what
                statements were made in what documents or oral presentations or
                what omissions were made, and (2) the time and place of each such
                statement and the person responsible for making (or in the case of
                omissions, not making) same, and (3) the content of such
                statements and the manner in which they misled the plaintiff, and
                (4) what the defendants obtained as a consequence of the fraud.

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Ziemba v. Cascade Intern., Inc., 256 F.3d 1194, 1202 (11th Cir. 2001) (quoting Brooks v.

Blue Cross Blue Shield of Florida, Inc., 116 F.3d 1364, 1371 (11th Cir. 1997)).

       With respect to FCA claims, the Eleventh Circuit has stated the Rule 9 pleading

requirement more succinctly: to state a claim under the FCA, “a plaintiff must plead ‘facts

as to time, place, and substance of the defendant’s alleged fraud,’ specifically ‘the details of

the defendants’ allegedly fraudulent acts, when they occurred, and who engaged in them.’”

Clausen, 290 F.3d at 1310 (quoting United States ex rel. Cooper v. Blue Cross & Blue Shield

of Fla., 19 F.3d 562, 567-68 (11th Cir. 1994)). Moreover, because liability under the FCA

attaches not to underlying fraudulent activity, but to the submission to the government of a

claim for payment, the claims submitted to the government or the statements supporting those

claims must be pled with particularity. Id. at 1312 (citing concurring sister circuits)

(emphasis in original); see also United States ex rel. Matheny v. Medco Health Solutions Inc.,

671 F.3d 1217, 1225 (11th Cir. 2012). The submission of a false claim is “the sine qua non

of a False Claims Act violation.” Clausen, 290 F.3d at 1312; Corsello v. Lincare, Inc., 428

F.3d 1008, 1012 (11th Cir. 2005).

       The key inquiry is whether the complaint includes “some indicia of reliability” to

support the allegation that an actual false claim was submitted. Clausen, 290 F.3d at 1311.

One way to satisfy this requirement is by alleging the details of false claims by providing

specific billing information—such as dates, times, and amounts of actual false claims or

copies of bills. See Hopper v. Solvay Pharm., Inc., 588 F.3d 1318, 1326 (11th Cir. 2009).


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Alternatively, the Eleventh Circuit has deemed indicia of reliability sufficient where the

relator alleged direct knowledge of the defendant’s submission of false claims based on her

own experiences and on information she learned in the course of her employment. See U.S.

ex rel. Walker v. R&F Props. Of Lake Cty., Inc., 433 F.3d 1349, 1360 (11th Cir. 2005).

However, the basis of this direct knowledge must be pled with particularity. See Sanchez,

596 F.3d at 1302-03, n.4.

III.   Analysis

       The second amended complaint lacks the “indica of reliability” required to state a

claim under the FCA. As Epic points out in its motion, despite labeling each Count under

a different section of the FCA, Petrowski parrots the language of 31 U.S.C. § 3729(a)(1)(A)

for each Count, asserting that Epic purportedly “made false representations about [its]

software” and “presented or caused to be presented, a false or fraudulent claim for payment

. . .” “[a]s set forth above.” Yet, there are no allegations “set forth above” of representations

by Epic about its software, let alone misrepresentations to anesthesia providers or the

government. Nor are there any credible allegations that any false or fraudulent claim was

submitted to Medicare. Indeed, it is entirely unclear how Epic presented or caused to be

presented a false claim to Medicare because there are no supporting details. Petrowski does

not allege any facts about the alleged misrepresentation, like whether it was oral or written,

what it consisted of, who made it and to whom, when it was made, where it was made, what

claim was actually submitted to Medicare, by whom it was submitted, or when it was

submitted.

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       In other words, the second amended complaint fails the most basic test for Rule 9(b)

particularity. See Clausen, 290 F.3d at 1310 (“a plaintiff must plead facts as to time, place,

and substance of the defendant’s alleged fraud, specifically the details of the defendant’s

allegedly fraudulent acts, when they occurred, and who engaged in them.” (internal

quotation omitted). Petrowski alleges only that Epic’s software could be used in such a way

that would allow its hospital customers to generate bills that cause the Medicare program to

double pay for certain aspects of professional anesthesia services. This is woefully deficient

because it is based on pure speculation. And the exhibits attached to the second amended

complaint do not fill these gaps because they do not support the allegations of purported

double-billing.3

       It is important to underscore that, not only does Petrowski fail to identify specific facts

in support of Count I, she omits any allegations in support of the statutory requirements for

violations of §§ 3729(a)(1)(B) (Count II) and (G) (Count III). Thus, the allegations in

support of Counts II and III are insufficient even under the more lenient Rule 8(a)(2)

pleading requirements.

       Petrowski’s training on the Epic billing software is also insufficient to state a claim

under the FCA because there are no facts as to how she knew how other healthcare providers

used the Epic billing software. Petrowski also does not allege any facts that her former



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         For example, Exhibit B appears to be a document that itemizes the receipt of payments
from Blue Cross for surgical and pathology services without any apparent reference to
anesthesia. Exhibit B does not support a plausible claim under the FCA.

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 employer, WakeMed Health, actually submitted any false claims using Epic’s billing

 software. Broken down, her allegations amount to no more than an assertion that the Epic

 software theoretically could have been used to lead to incorrect billing.

        In sum, the second amended complaint falls woefully short of stating a claim under

 the FCA and will be dismissed with prejudice. Notably, Petrowski did not seek leave to

 further amend her complaint. And her response in opposition to Epic’s motion to dismiss

 does not request dismissal without prejudice to amend her complaint. Nor does her response

 identify any further allegations in support of her claims that would make amendment

 worthwhile. See Long v. Satz, 181 F.3d 1275, 1279-80 (11th Cir. 1999) (per curiam) (noting

 that to properly request leave to amend, a plaintiff must (1) file a motion for leave to amend,

 and (2) “either set forth the substance of the proposed amendment or attach a copy of the

 proposed amendment.”); see also Wagner v. Daewoo Heavy Indus. Am. Corp., 314 F.3d 541,

 542 (11th Cir. 2002) (en banc) (holding that a “district court is not required to grant a

 plaintiff leave to amend his complaint sua sponte when the plaintiff, who is represented by

 counsel, never filed a motion to amend nor requested leave to amend before the district

 court.”).

        It is therefore ORDERED AND ADJUDGED that:

        1.     Defendant’s Motion to Dismiss (Dkt. 46) is granted.

        2.     This action is dismissed with prejudice as to Relator Geraldine Petrowski. The

               dismissal is without prejudice as to any FCA claims the United States may

               assert against Defendant Epic Systems Corporation.

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       3.     The Clerk of Court is directed to close this case and terminate any pending

              motions as moot.

       DONE and ORDERED in Tampa, Florida on February 6, 2018.




 Copies furnished to:
 Counsel/Parties of Record




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